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                                                                                                                          District Cler
                                                       CAU5E     116. CV'1 A1 l]2811                                Libefty County, T,
                                                                                                                       Destiny Hinton
               IIIUN ,REINOI,DIS                                        s                     IN TEIE DISTTUCT COUR',T OF
                                                                        $
               '\rs.
                                                                        $
                                                                        $                          LII}ERTY C]OITNTY. TEXAS
               I}I,AN\    :TRAC'TOR COhfP,Ai\Y                INC       $
                                                                                                   iI
               AT{D     EI.UIS*SELI,I.IEAI,                             S
                                                                                                          T.- JUDIC:IAL
                                                                                                                        DISTRICT


                        PLT.INTI FII,S ORIGI NAL PETITION AI.ID ]].E]QT]IOSTS FTSR IIIS<]LQSURE


              1]O ]]I]tE IIONORSBLE JUDGE OF SAID COTIRT:

                        NOW COI\{IES, Plairrtiff ERIN RE'/-NOLDI} ti"I'laintiff'), <:omplaioing of BLANN'
              l'RA(l]lO.R. COi\zII'ANY' [NC, ("Defendant COMI'ANY"), and                            Rlrgg5ll ].IIIAL            ("'Defenclant

              ItrIiA-L") (lollecti.vc:ly as "Detiln{laots"), atid for cause of act:on r,vou.Ld:respectJirlly show,:

                                                                            I.

                        Pleuintift r.Dtends    to condLtct     discover:y undr:r Levoi      lI,   pru's.-rar:rt   to I9(),3 of the Tr>rrs
              F-rjIgs   O}r .OruIL PRO(]EDURE.


                                                                            II.
                        .Plaintiff is   el residentr   of Maricopa Corrnty, r!nz,)na.'The last tlrree nuri:liers ollplaintitfs

              A,rjzona. d:ril,er's license are 516, ancl the last thre() humbers of her sccial securily nrLmber are

              6?f\.


                        J)eliindant, IILAi\,lI'l TI?ACT()R COMPAN/ INIC, is a forei5;n corporaticn As suctr, it is

              a "noil-lesi,(lent" as that tljrm is; defined and understood r:ncler $17 04I ,:f-the Te;<as Ci.vil practice

              a::cl R.ernedies Coder. Ac:corditrgly"          for pllrposo of     secrr::irrg sen,ice clf 'process crn the Defendaut,

              BLAI{\]'TI(ACTOII COIvIPAI.f\l fNC, the Piaintiff pleads an.d will                        pr:ot,,e rhe fcllor.vir:g:

                                a.      I)efendant, I]LANN TLA.CTOR COIVIPAN|Y I|trC, con'rmittecl a to.rt in rviroie

                                        I'lainli{'f s Original Petition anc[ Requests for               .Disr:rlosure
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                                                or jn pafi in this srtate. As such, J)eferndar.t, Bllr.l$it TRACI:OR CTOMFANY
                                                lldC, was clolng tLrsiness in this state, as that tcrm is clefined ancl lnderctood
                                                ouder $ I7,042 of tlie Texas Civil l)ractice r'nd Rernid:ies Cod:;

                                          b. ,\t t]:e time of fie institution  of this litigation, D,:lbnLclant, B;LANN'IP.ACT'OR
                                                COIvIPANIi' INC, was a lbreign r)olporati,)r1, alltl irs such, is a "nou-resident'' as
                                                tttat tenn is defiaed andr"rnde stotd uLnder 5 ]7.041 r:f the llexas Civil Practice
                                                a.nd Rerned:ies Ccr<[e; arrd


                                          c.    .r\t all times material hereto, Deferrdant,BI,ANN TRA CTOR- COMF'ANY tr{C,
                                                engaged     irr business in this state, bLlt dDOS nol rr:a:intain a repXriar place ol
                                                trusirrcss in this state and has not rlesignateci or ma:Lrrtili.ned a registerecl agent. for
                                                s;ervice of process in this state,

                           According))', pLrsuant to $t'7.044 of the Texas, Civil Pract:rce: and Rernediesr Code, the

               Seoretary/         of State of the State of f'exas is the ag,:nt tbr service o'f process c,n tl:e                 Defendant,

              IIL,N{}{ 'IRAC:I'C)R COMP.T\NY fNC, and                             seryice on t}:e Det}nd.ant,         BLINN     '|R-{CTOR

              COMPu\Nnf lNC:. rnay be obtained by ser-ving the S,:cretary of State ,of the State of T'er:as at: l-019

              !i rztzl s   iStr   e   et. Aus   tig,Ig   zrs. 7   8Z]_I_UUT14yIS!9gnE.

                           Notice to Defendant, I}LANJ'I TRACTOR (]OIvIPA],IY INC, o:l service of process on the

               Secretar.y         of Stato may tre rnacle, pnrsttant to $17,0a5 c,f the Tcxas;            rCi'viI Practice ancL Reme<Iies

               Cocle t,y rnailini3 a copy of the pr()cess or notice by registered mail or ce:1i.fied r:nail, return

              rr:ceipt requested. to the horne office of Defendant., B.L^A*NN Tzutt3:t'OR COlvIP.qI[Y |trlC. at

              1536 E USL278. IJampton. r\rlgansas 7174{

                           Defendant, RUSI}ELL NEAI-, is a ''rron-re{rident" irLdividr-ral                  a.s    that t,:rm is detjned and

              understoocl uncler {i17.0,+l                  of th.e'I-'exas Civil Practicc arrd Reme,:lies Code. According].y, for
              plu'pose o1'securin.g, service of process on the DeferLdaat, R[.ISSEI-l- I'IEAL, tlre Plaintiff pieads

              ancl vr,'ill prc)\/e the fellsly'111g'

                                          a.    Dofendant, RUSSELL NEAL, was the operator oi'a vehicie involved in                  an
                                                aiutoilol)i]e acr:ident on September.. I , 2016 in tiris starte; and

                                                l?laintil'Ps Oliginal Pctition an<I Reqrres;ts for Disr:losure
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                                  b.   .At the time of the ir:stitution of this litigztion, D'efizrdant, BI-ISSI:LL NIEAL,
                                       'w'as a "tron-resider.rl'r as that temr is definecl and uo,rlelstood u.nde,r $ I7 04] o1 the
                                       'lexas Civil Practice and Remedies Code.

                      Acc:ordingll/, punillarrt to $17.062 of tlre Texzts C:ivil lractice             zrnd .Remeclir:s Codie- the        Chair

               c,f the Texas T::ansrpofiatiol Cr:mmission is the agent for sen,i,ce of process on Defendant.

               IIIJSISE)LI. NEAL, and         selice on Defendant,         RUSISEI-L        NEAL, rna),be obtai:red brr ser"virg            the

               Chair of the Texas'fransportation Commissior) at: 125 East                     llth   SitreQ!,   AustrLn-lexa5-78701 in

              l)'avis Cor4q[.
                      Notice to Defeud,ant, RIISS'ELL NEAL, oi' service of                      pro<:erss   on the Clhrlir of the Texas

              liansporlertion Conrrtisslon firay be made, pLrsLlant to $17.063 o1 rihe Texas Ci'ril t,ractice                              zurd

              F:emedies Code, 1:y rnailing a c)opy o1'the process an<l notice t.:at the process hasr been                   s<rrr,,ecl   on the

              Chair by registe:recl r::rail or: r;ertified mail, retum receipt requested tcr DefenCanr, RUSSELL

              IlTiA,L, at: _ll$lpagis A've,.       H1>pe.   ArkaLsas   7180.1,..

                      'fhis itrciclenl occurred in Li'berty County,           Texas,

                                                                          IIr.
                      .Dar:nages sotrght are       rvithin fhe jurisclictiona.. linLits olthis       Cor-urt.   Piainti:tf seeks monelary

              rr:ljef of'or,er $200.000 but not more than $I,000,000.

                      'l'his   Cor-u,1 has   juriscliction and venrle is prope: in Liberty Corurty, Texas; purslranr tc 'l'ex.

              C)i'z.Prac.   lLRetrr tSode$1S.Ct02(aXl)becauseallt>rar;ubstantialpairtofthe€,ventso:rornissions

              giving rise' to the claim ocrltllT3cl in l,lberly County, Texas.

                                                                          fv.
                      r3r:.   or about   Septerrlb,3r 1, 2,016,    Plaintiff       vvas   traveling nofthbound on S, I{rvy. 59 irr

              Litrerly Coltnty, T€'xas, when suddenly and without warnirrg, Defendilnt NE,AL, cha,nged                                   lanes


                                       lPlaintiffs Original Petition anrl Re:gues;ts for fJisr:losure
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                                                                               Cnf ltl)'
                                                                                                            il.i                         |




               'vl:erl rtnssLfe anrl collidecl with Plaintiff s vehicle. Based o:n infomratir>rr and belief, at all times

               tnratedsl     to this lav/suit,          Del'endarit NEAL was an ernpioyee or irgorrt of anrl engaged in the

               li:rther;Lncr: of ttLe business of and in the cor.use anrl scope cf employr[(]nt or agency relationship

               rvjth Deft::ndant CCIh4PANY. As a restilt of the                      inci,C.e::t,   Plajnlilf   sustaineci, serious pers,:nal

               inj uries;-

                                                                                v.
                         Ott the or:casion ir, question, Defendant NE,\L, vjola.teci his dirt),to exr:rcise ordinary,:are

               in the ope;ration. o{' the lnotor vetricle and was                    neg.ligeut     in on,: or more of          the follou,ing
               pa:rticular-r;:

                         (u)             failing t<L keep a proper lookout;
                                       in.
                         (b)          in faiLing to ap;:ly or timely apply th,: brzrkes;
                         (.)          in chrrnginll larLes ,,vhen rrnsafe;
                         (d)          in failing to maintain an assurecl clezrr distance betweerL liis vehi,:le                 an<i   Plaintiff   s
                                      vediicle;
                         (.)          in strikiug .Piai::tifFs vehicle;
                         (0           in failing to r:ra,ir:.taiu control of his vehic,le; a::d
                         (g)          in f;liling to e>rercise ordinary care as a reasotrably prucienr                 lre   rson rvoulcl have
                                      done ur:der the sam€ rrr similar circLr:nstances.

                         Each of tllrese acls or ornjssions, singularly or cr:llecrtively, c,cnrstihrteci negligernce, whicl:

              prclxtmatel'y caui;ecl the occu:rence rrrade the basis of tl:i*c srrit ancl the res'Lrlting i:njr-rries ald

              darrrages to Plaintiff.

                                                                               vI.
                         Def'endant ,COMPA\I-Y and                   its ageEts,   office:rs, zurd empiio.)/eos, fcrr lvhose acts and

              ol:r.issions consti'llrting negligence and negligehce per se. and such acts ancl omissic)ns. amopg

              othel'$. are    r:is   follovrs:

                        l:a) In              failing;   to   prrrperly screerl, test, a.nit rl"rality drivers, sprecilicrally
                                      in,;lurding ttefcndant      l\iEAL, so as tc plo,vide tbr safe o;peratiorr cf a trLrck

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                                   sttch as the orre involved in the occurience in qllestion;
                       (lb) In         h,iling. ernployiriSS, and/or retaining dr:ivers, spe,l:ifically' inclucting
                                   Dofe'nclant NE,AI", who Jaclced proper screening, tes,ting, tlaining ancl
                                   qual:.ficatio:ns so as 1.o provide for safe opera:ion of trrr<;l< srrch as rhe one
                                   rn'volved in the ()ccLlrren.ce in cluestio.n;
                       t.c)        In failing to properly' train at:d supervise d::ivers, spe,;:ificalilz inclr"rclling
                                   Defbnilattt NElLL, so as to provide fcr silfe operation, o.l truck srrch as the
                                   one involvecl iti the occun'ence in querstion; and
                       (:d)        In faiiing to p:roperl1. implement arrd e,nfor,)e policiett, proce,dures, atrd
                                   prr:tocols trl pr:operl), screen, teSI, train, qrralify, sl-rp,erwise, and retain
                                   driverrs to ()per.ate trttcks such as the one involveci ln the occu.rrence: in
                                   qLrestion,

                       At all tim,cs     .mat$r:ial hereto,       all of the   agerrts, serv:LDts, ancl eln:ploye    e   s   fot'    Defcnclant

              COMPI\N\|,         inch"xJirtg     brit not Jjrr:ited to Defenc[ant NE:\L, wht: were corr,iected rvith the
              occun'erlce made the srtbject c,f this cause              of actiou were acting     '"vit.hin the cotrrse ancl soope               of
             th.e:ir ernpl<)'flnent ot: agency      relationship or official clutiers anrl in frull:e:rance o1'the <luties of ttreir

              ernployrnet:t or agency           ol office;   arLd these agents, servauis, and t,ru:Lployees; wer€ actlng                       in a
             ma:ra;;er-ial capacitlz      or as vice-prir:r:ipa1s, and the actrs cornmitted               b,z therrr, 'ivere arrrilorizecl,

             applo1,/o(:1, and     ratilied b1, Dellenclant COI\,{PANY.            Thr.rs, D,:t-endanrf   COMPA.}[Y js              ,,,ioarirlr"rsly

             lirlble for   t.Lre   acts andl<lr onrissions         of Defendant NEAL          under the <loctline            of     :responcleal

             sr-Lpericr.


                                                                           YII.
                       AII ,rf the fac:ts       stated   in this pleading me incorporated herein as if fl.rlly set forth,                      T.he

             ac'tionr;, conduct ancl/or omissions            of   Deflendant   NEr\L   r^/ere a violat|orr   of state law       aocJior iocal

             regrilariio,rrs and/or ordinancr:s and as such constitute rr,:g1i€lence per se.

                                                                          VIII.
                      Its a direct an<l proximate result of the aforemerLtior:ed                acts amd omissjons of negligence

             b5r the Dtefr::ndants; JPlaintitf sr.rstainecl the        following dan:agel; for rvhich, she is lcgally entitled to

                                       Plaintitf's Ortgirral Petition nnd Rerquests for Disc,losure
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             Iecover:

                             1.         Nr:ceslsarl, and reasonirble me dical expenses, past and furrrre;
                             '.2.       Physrical lrairi and mental anguish, past and fuiure;
                             .3         Phys;ical impairment., past and frrtrue:
                             .1.        Disfigtrrernsnt, past ald furttire;
                             :5.        Loss of itrc<)rne a.nd l"e,drtced wage ea,rning cap,acity, pr,rsl. and fulrtre; ancl
                             t5.        Pre-;udgment interest and costs of CorLfi.

                             lLf   itbe fiiur:c{thatPlaintiffu'as suffering fi,lrn irnypredisposit:.ors,                cor)ditror)s orboclily

             irLfirn:rit:Les        prior to t.he da.te: of the coJlisron, Plaintifi'wourld shorv nnto        r:he   Couft ancl jury that rhe

             sallle \.vils :oeither disablirrSlrtor: painful,           br"rt   that as a resnlt ollthe injurios;   sr-rffer<:<l   by I?laintiff on

             sttch clccasior, &frd the effects thereof, the sarne hac. been inr,'ited, ac:el.erated, and agllravated. to

             sttch     a,n   extent that they have nolv ber:ome painflil arrd d:isabl:rng as <lescribecl l:rlrein.

                                                                                   IX.
                         Prtrsliant to .R.ule 194 of the f'exas Rules of 3ivil Proceclure, Dr::1'endanrs are rerquested to

            disoiose tI:Le inforr,atiotr ar:c1 rnaterjal d.escribed i:r Rr-rle 194.2 withirr frfty (50) clays of the

            ser\1ic,i of tlris rfeQ[!e,st.

                                                                                   x.
                         I'le,nse take notice that, putrsuant to Rule 193.7                 oIthe Texas Fi-u].es of Civil Procetlure, for

            plllrose{i of'se.lf-aur;henticatiort, any, ar:d all documents produced                        b'rz Dsfend.a,nts        to Plaintiff in

            resporrse:         to wrilton     clisccrvery   rvill bo   usecl against Defbndants at aliy pretriali plocee:ding or at

            tri"al..


                                                                                  xI.
                         WI-I]3REFOI1E, PREMISES IIONSIDEREL,, Plaintilf prays that Def'e:u<1ants be cirecl to

            alrpcal'and answet tierein; that upon trial hereof, Plaintilf has jrrdgme,r:t c,f the Court ap;air:st                            sr_Lch


            D,sferrdauts.           in a lotaI   amoLlnt    of nroney strbstantially in exr]ess of          lhr:;   minimtnn jurisclictional

                                            Plaintill's Originrrl Pctition and Re,luests fbr Djisc.losure
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               lin:it of '[his Crli"rr1, together ivith prejr,rdgmeut   ancl posrjudgm,lnt interesl; as provided by

               applicable: laws; for all costs of coLut; and for all such other aucl furthe:r relief, both general and

               special,, le6lal an<l equitab1e, to whicli Plaintiff rnay show   herselfjustly entitled,.



                                                        Respectflrlly s ubmittecl,
                                                        ,THE
                                                               CRTM ]LA\4/ FIRM, P.C,


                                                        rcr   CMI*'@l9Wp*Ei,
                                                        \,Vade D. Moriarty
                                                        Texas Bar  No 001/89503
                                                        4900 Travis S:.
                                                        HoLtston, TexzLs 71t002
                                                        (1 L3) -807 -7 8C'0 Tr:lephone
                                                        (7 1 3)-80 7-843 4 Facsirrule
                                                        Wade@TheCliml,awF iln:. c om

                                                        ATTORNE!. FOIR P]LAINT]I            trIP
                                                        ERIN REYNOLDS




                                    I'Iaintiff s Original Petition an tl Reqrre,sts for    tr)is;closure
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